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5
     Attorneys for Secured Creditor,
6
     Wilmington Savings Fund Society, FSB, D/B/A Christina Trust as Owner Trustee of the
     Residential Credit Opportunities Trust V
7
                                 UNITED STATES BANKRUPTCY COURT
8
                           SOUTHERN DISTRICT OF OHIO – DAYTON DIVISION
9

10                                                       )
        In Re:                                           )   Chapter 13
11                                                       )
        Thomas Alvin McCullough and Cynthia              )   BK Case No.: 18-30283
12      Sue McCullough,                                  )
                                                         )
13                                                       )   WITHDRAWAL OF PAYMENT CHANGE NOTICE
                 Debtor.                                 )   (DOCKET NO. 66)
14                                                       )
                                                         )
15                                                       )
                                                         )
16                                                       )
                                                         )
17                                                       )
                                                         )
18                                                       )
19
            Wilmington Savings Fund Society, FSB, D/B/A Christina Trust as Owner Trustee of the
20

21   Residential Credit Opportunities Trust V, hereby withdraws its Payment Change Notice, Docket

22   No. 66, filed on November 6, 2018.
23

24
     Dated: January 31, 2019                        /s/Michelle Ghidotti-Gonsalves
25                                                  Attorney for Wilmington Savings Fund Society, FSB
26

27

28


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     __________________________________________________________________________________________________________
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     Wilmington Savings Fund Society, FSB, D/B/A Christina Trust as Owner Trustee of the
8    Residential Credit Opportunities Trust V
9
10                             UNITED STATES BANKRUPTCY COURT

11                         SOUTHERN DISTRICT OF OHIO (DAYTON)
12
     In Re:                                               )   CASE NO.: 18-30283
13                                                        )
     Thomas Alvin McCullough and Cynthia Sue              )   CHAPTER 13
14
     McCullough,                                          )
15                                                        )   CERTIFICATE OF SERVICE
              Debtors.                                    )
16                                                        )
                                                          )
17
                                                          )
18                                                        )
                                                          )
19                                                        )
20                                                        )

21
                                      CERTIFICATE OF SERVICE
22
23
              I am employed in the County of Orange, State of California. I am over the age of
24
     eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave.,
25
26   Santa Ana, CA 92705.

27            I am readily familiar with the business’s practice for collection and processing of
28   correspondence for mailing with the United States Postal Service; such correspondence would



                                                      1
                                       CERTIFICATE OF SERVICE
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1    be deposited with the United States Postal Service the same day of deposit in the ordinary
2    course of business.
3
     On January 31, 2019 I served the following documents described as:
4
                   WITHDRAWAL OF PAYMENT CHANGE NOTICE
5
6    on the interested parties in this action by placing a true and correct copy thereof in a sealed

7    envelope addressed as follows:
8
     (Via United States Mail)
9    Debtor                                              Chapter 13 Trustee
     Thomas Alvin McCullough                             Jeffrey M Kellner
10   50 Country Manor Lane                               131 N Ludlow St
11   Apt H                                               Suite 900
     Centerville, OH 45458                               Dayton, OH 45402
12
     Cynthia Sue McCullough                              U.S. Trustee
13   1816 E. Dorothy Lane                                Asst US Trustee (Day)
14   Dayton, OH 45429                                    Office of the US Trustee
     MONTGOMERY-OH                                       170 North High Street
15                                                       Suite 200
     Debtor’s Counsel                                    Columbus, OH 43215-2417
16   Richard E West
17   Richard E. West Co., L.P.A.
     195 E Central Avenue
18   Springboro, OH 45066
19
20   _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
     the United States Postal Service by placing them for collection and mailing on that date
21   following ordinary business practices.
22
     ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
23   Eastern District of California

24   __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct.
25
26          Executed on January 31, 2019 at Santa Ana, California

27   /s / Maben May
28   Maben May




                                                     2
                                      CERTIFICATE OF SERVICE
